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                                                                                              Cla*
                                                                                           Qktnct CQuk‘k




                                                                                  For The Northern Mariana islands
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                                                                                           (Deputy Clorlr)




                                          IN THE UNITED STATES DISTRICT COURT
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               8
                                          FOR THE NORTHERN MARIANA ISLANDS

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               10
                    RANDALL T. FENNELL,                      )      Civil Action No. 09-0019
               11
                                                             j
               12                          Plaintiff         )
                                                             )
               13                    V.                      )      ORDER SETTING
                                                             )      STATUS CONFERENCE
               14
                    MATTHEU’ T. GREGORY, e t al.,            )      WITH PARTIES AND
               15                                            )      PROPOSED INTERVENOR
               16                          Defendants        )
                                                             )
               17
                           THE COURT has before it the Bank of Saipan’s ex parte motion for an order
               18

               19   shortening time to hear its motions to (1) intervene and (2) dismiss or, in the
               20
                    alternative, stay this lawsuit.
               21
                           Having read the motion, it is the court’s inclination to reschedule all pending
               22

               23   motions in this matter to Thursday, October 29,2009, at 9:OO a.m., to allow all parties
               24
                    the time to properly respond and argue their respective positions. However, in order
               25
                    to gtve the parties an opportunity to first be heard;
               26


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                1         IT IS ORDERED that a status conference be and hereby is set for this
                2
                    afternoon, September 1,2009, at 2:OO p.m. in chambers to discuss the posture of
                3

                4   t h s lawsuit. If the parties meet and confer prior to that time, and agree to the

                5   October 29, 2009, hearing date, one of them shall notify chambers staff at 236-2900
                6
                    and the status conference set for today d come off-calendar without further order
                7

                e   of the court :and the court d issue an order moving the motions' hearing date.

                5          DATED t h s 1st day of September, 2009.
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               1;                                                           -   - .

                                                                        ALEX R. ~ N S O N
               1:                                                                     Judge
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